Case 5:17-cv-00179-JPB-JPM Document 178 Filed 09/17/20 Page 1 of 2 PageID #: 1940



                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     Wheeling


  DIANA MEY,
  CRAIG CUNNINGHAM.
  STEWART ABRAMSON,
  JAMES EVERETT SHELTON,
  individually and on behalf of a class
  of all persons and entities similarly situated,
  DAVID VANCE,
  RUSSELL LOCKE, and
  THOMAS STARK, individually
  and on behalf of a class of all
  persons and entities similarly situated,

                       Plaintiffs,
         v.                                          CIVIL ACTION NO. 5:17-CV-179
                                                     Judge Bailey

  DIRECW, LLC;
  ACI COMMUNICATIONS, a DirecTV
  Authorized Dealer; BIRJU, LLC,
  a DirecTV Authorized Dealer; CDS VI, LLC dlb/a
  COMPLETE DIGITAL SOLUTIONS, a
  DirecTV Authorized Dealer; EXACT ESTIMATING,
  LLC, a DirecTV Authorized Dealer; EXPLOSIVE
  SALES MARKETING GROUP, INC, a DirecTV
  Authorized Dealer; 10 MARKETING 2, CORP., dibla
  PACIFICOM, a DirecW Authorized Dealer, and its principal,
  MICHAEL ASGHARI; KREATAMOTIVE LLC, a DirecTV
  Authorized Dealer; MYLAN JOHNSON GROUP, a DirecTV
  Authorized Dealer; NAS AIR LOGISTICS, LLC, a DirecTV
  Authorized Dealer; PERFECWISION MANUFACTURING, INC.,
  a DirecTV Authorized Dealer, and its telemarketers, FATI TECH
  LLC and SNY MARKETING; PlC SIX, LLC, a DirecTV
  Authorized Dealer; PRO EDGE MARKETING SERVICE LLC,
  a DirecTV Authorized Dealer; SUPER SALE OUTLETS, LLC,
  a DirecTV Authorized Dealer; and XCITE SATELLITE, LLC,
  a DirecTV Authorized Dealer;

                       Defendants.
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                                             ORDER

          This mailer is before this Court following a status conference held on September17,

  2020. In consideration of the arguments proffered by the parties therein, it is hereby

  ORDERED that the below listed deadlines be adopted:

          1. Within seven (7) days of the entry of this Order, plaintiffs must file their Third

  Amended Complaint.

          2. Thereafter, defendants will be provided thirty (30) days to file an Answer to the

  Third Amended Complaint.

          3. The parties mustfile a Fed. R. Civ. P.26(f) report no laterthan forty-five (45) days

  following the filing of the Third Amended Complaint.

          4. In light of the recent Mandate issued bythe United States Circuit Court of Appeals

  forthe Fourth Circuit, plaintiffs mustfiletheiropening brief concerning unconscionabilitywithin

  thirty (30) days of the entry of this Order.

                 a. Thereafter, defendants must file any response brief within twenty-one (21)

  days.

                 b. Thereafter, plaintiffs must file any reply brief within fourteen (14) days.

          It is so ORDERED.

          The Clerk is directed to transmit copies of this Order to all counsel of record herein.

          DATED: September 17, 2020.


                                                     J    PRESTON BAILEY
                                                     UNITED STATES DISTRICT JUDGE


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